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             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JULIE ELLEN WARTLUFT et al.,                  :     1:16-cv-2145
                                              :
                  Plaintiffs,                 :      Hon. John E. Jones III
                                              :
     v.                                       :
                                              :
THE MILTON HERSHEY SCHOOL                     :
AND SCHOOL TRUST et al.,                      :
                                              :
                  Defendants.                 :

                                      ORDER

                                November 12, 2019

     In consideration of the parties’ joint stipulation concerning summary

judgment, (Doc. 287), said stipulation is APPROVED TO THE FOLLOWING

EXTENT:

  1. All motions for summary judgment shall be accompanied by supporting

     briefs and shall be filed on or before December 17, 2019.

  2. All responses in opposition to motions for summary judgment shall be filed

     on or before January 24, 2020.

  3. All replies in further support of summary judgment shall be filed on or

     before February 7, 2020.

  4. Defendants shall file one collective motion for summary judgment and one

     brief in support thereof. Plaintiffs shall file one collective brief in opposition


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       thereto and, if necessary, Defendants shall file one collective Reply. If

       Plaintiffs elect to file a motion for summary judgment, Plaintiffs shall file

       one collective brief in support thereof, Defendants shall file one collective

       brief in opposition thereto and, if necessary, Plaintiffs shall file one

       collective Reply.1

    5. All briefs filed by all parties in connection with any motion for summary

       judgment in the above-captioned case shall not exceed 10,000 words and

       shall otherwise comply with Middle District of Pennsylvania Local Rules.




                                                             /s/ John E. Jones III
                                                             John E. Jones III
                                                             United States District Judge




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         We hasten to note that all Defendants and all Plaintiffs are represented by the same
counsel. We also note that the parties indicated in their stipulation that “Plaintiffs or Defendants
may elect to file one collective brief in response to the parties’ motions for summary judgment
subject to the word limitations stated herein.” (Doc. 287). Thus, in our view, filing a collective
brief is not prejudicial and the parties have so acknowledged. Accordingly, we shall exercise our
discretion and deviate from the parties’ proposed scheduling order so that we can control our
docket and our caseload and get “on with the business of deciding cases.” See Eash v. Riggins
Trucking, Inc., 757 F.2d 557, 567 (3d Cir. 1985) (“A court's inherent power to manage its
caseload, control its docket, and regulate the conduct of attorneys before it, provides authority to
fashion tools that aid the court in getting on with the business of deciding cases.”).

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